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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION

 JULIA HUBBARD and                              §
 KAYLA GOEDINGHAUS,                             §
                                                §
        Plaintiffs,                             §
                                                §
 v.                                             §      CIVIL ACTION NO. 5:23-cv-00580-FB
                                                §
 TRAMMELL S. CROW, JR., BENJAMIN                §
 TODD ELLER, RICHARD HUBBARD,                   §
 MELISSA MILLER, SCOTT WOODS,                   §
 MRUGESHKUMAR SHAH, MICHAEL                     §
 CAIN, COE JURACEK, PHILIP ECOB,                §
 H.J. COLE, CODY MITCHELL, KURT                 §
 KNEWITZ, PAUL PENDERGRASS,                     §
 RALPH ROGERS, ROBERT PRUIT,                    §
 SCOTT BRUNSON, CASE GROVER,                    §
 RICHARD BUTLER, MICHAEL HYNES,                 §
 JR., SHAWN MAYER, JADE MAYER,                  §
 AARON BURLINGAME, and RCI                      §
 HOSPITALITY HOLDINGS, INC.,                    §
                                                §
        Defendants.                             §

             MOTION TO WITHDRAW AS COUNSEL FOR DEFENDANTS
              RCI HOSPITALITY HOLDINGS, INC. AND CASE GROVER

       Pursuant to Local Civil Rules 83.12 and 7.1, attorney Holly Naehritz respectfully files this

Motion to Withdraw as Counsel for Defendants RCI Hospitality Holdings, Inc. (“RCI”) and Case

Grover (“Grover”). Holly Naehritz is employed at a new law firm and is no longer working with

the other attorneys representing RCI and Grover. Attorneys Brian Rawson and Stephanie Roark

of the law firm Rawson Law PLLC will continue to represent RCI and Grover in this matter. Their

contact information is as follows:

               Brian Rawson and Stephanie Roark
               Rawson Law PLLC
               1900 N. Pearl Street, Suite 1700
               Dallas, Texas 75201


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              (214) 734-2553 (Rawson)
              (214) 620-1696 (Roark)

       Holly Naehritz conferred with counsel for Plaintiffs Julia Hubbard and Kayla

Goedinghaus, counsel for Defendants Trammell S. Crow, Jr., Kurt Knewitz, Jade Mayer, Shawn

Mayer, Dr. Melissa Miller, Cody Mitchell, Robert Pruitt, Dr. Mrugeshkumar Shah, and Dr. Scott

Woods, and pro se Defendant H.J. Cole, and they each indicated that they are unopposed to this

motion to withdraw as counsel of record for RCI and Grover.

       WHEREFORE, PREMISES CONSIDERED, attorney Holly Naehritz respectfully prays

that she be withdrawn as counsel of record for Defendants RCI Hospitality Holdings, Inc. and Case

Grover.

                                                    Respectfully submitted,


                                                    HOLLY NAEHRITZ
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                                                    ATTORNEY FOR DEFENDANTS
                                                    RCI HOSPITALITY HOLDINGS, INC.
                                                    AND CASE GROVER




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                                CERTIFICATE OF SERVICE

       I hereby certify that on October 4, 2024, a true and correct copy of the foregoing document
was served electronically on all counsel of record via the Court’s CM/ECF system, and on the
following pro se defendants by first class mail:

               H.J. Cole
               1302 Wrangler Way
               Princeton, TX 75407

               Philip Ecob
               2215 Cedar Springs Road, Apt. 1414
               Dallas, TX 75201

               Benjamin Todd Eller
               364 W. Wilson Ave., Suite 5
               Glendale, CA 91203


                                                     Holly Naehritz



                             CERTIFICATE OF CONFERENCE

        I hereby certify that I conferred via email on October 3, 2024, with counsel for Plaintiffs
Julia Hubbard and Kayla Goedinghaus and counsel for Defendants Trammell S. Crow, Jr., Kurt
Knewitz, Jade Mayer, Shawn Mayer, Dr. Melissa Miller, Cody Mitchell, Robert Pruitt,
Dr. Mrugeshkumar Shah, and Dr. Scott Woods, and they each indicated that they are unopposed
to the relief requested in this motion. I also conferred with pro se Defendant H.J. Cole via email
on October 3, 2024, and on October 4, 2024, and he indicated he is unopposed to the relief
requested in this motion.


                                                     Holly Naehritz




MOTION TO WITHDRAW AS COUNSEL FOR DEFENDANTS
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